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4                             UNITED STATES DISTRICT COURT

5                            EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                 No.     2:13-cr-300-GEB
8                   Plaintiff,                 ORDER CONCERNING WHETHER EX
                                               PARTE RULING UNDER THE CRIMINAL
9          v.                                  JUSTICE ACT INVOLVING DEFENDANT
                                               RICHARD HEMSLEY SHOULD BE
10   JOHN MAHAN, ET AL.,                       RECONSIDERED
11                  Defendants.
12

13               In connection with an ex parte request made under the

14   Criminal Justice Act (“CJA”) involving Defendant Richard Hemsley,

15   this Order will seal two granted ex parte CJA requests, one is

16   dated March 30, 2017 (March 30 request) and the other is dated

17   April 21, 2018 (April 21 request).                The CJA Panel Administrator

18   informed    the    undersigned     on    May    3,    2018,   in   response       to   an

19   inquiry    from    the    undersigned,         that   stand-by     attorney       David

20   Fischer stated the March 30 “authorization was closed out because

21   the client had moved from Pro Se to being represented by Mr.

22   Fischer and, at that time, those paralegal funds were no longer

23   needed.     Then, recently, it was determined that more paralegal

24   funds were needed so he submitted [the April 21 request].”                         Part

25   of   the   April   21    request   may    be    reconsidered       in   an   ex   parte

26   proceeding now scheduled to commence at 9:00 a.m. on May 5, 2018.

27   A status hearing is still scheduled in this action on May 5,

28   2018.
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1                      “Persons who are eligible for representation under the

2    CJA, but who have elected to proceed pro se, may, upon request,

3    be authorized to obtain . . . [certain] services in accordance

4    with 18 U.S.C. § 3006A(e).”                          Guide to Judiciary Policy, Vol. 7,

5    Pt.    A,    Ch.     3       §    310.10.30(a).                “The     court     should       authorize

6    [certain] services for pro se litigants and review and approve

7    resulting claims in the same manner as is its practice with

8    respect       to     requests            made        by       CJA    panel      attorneys.”            Id.

9    § 310.10.30(b).                  The Fifth Circuit states in United States v.

10   Hamlet, 456 F.2d 1284, 1284 (5th Cir. 1972): “The fact that

11   [Defendant] was acting as his own counsel does not remove him

12   from the benefits of § 3006A . . . , but heightens the court’s

13   responsibility               to     make      a       careful         ex      parte     inquiry        and

14   determination of the need for such services.”                                          However, “[i]n

15   order to obtain services under [the CJA], the defendant must do

16   more    than       allege         that     the       services         would     be    helpful.         The

17   defendant bears the burden of showing that the requested services

18   are ‘necessary’ to present an adequate defense.”                                        United States

19   v.    Kennedy,          64       F.3d    1465,       1470       (10th      Cir.      1995)     (citation

20   omitted);         see    18       U.S.C.      §      3006A(e)(1)           (“Upon     finding,      after
21   appropriate inquiry in an ex parte proceeding, that the services

22   are necessary . . . the court . . . shall authorize . . . the

23   services.”).

24                     No party, other than Defendant Hemsley, is authorized

25   to     see    the       sealed          CJA   documents,              unless      the       decision   is

26   ultimately made to unseal the documents.                                    See generally, United
27   States       v.    Seugasala,           670     F.    App’x         641,    641      (9th    Cir.   2016)

28   (stating that the “general rule, often stated as the district
                                                               2
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1    court ‘losing jurisdiction’ upon the filing of a notice of appeal

2    is a judge-made doctrine developed for the purpose of maximizing

3    judicial   economy[,   and   it]   does   not   actually    ‘strip[]   the

4    district court of [its] subject matter jurisdiction [because]’

5    [t]he district court may still take ‘action [that] aids [the

6    Ninth Circuit] in [its] review’”).

7    Dated:   May 3, 2018

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